Case 8:20-cv-02413-MSS-AAS Document 19 Filed 04/20/21 Page 1 of 1 PageID 85




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                            Case No. 8:20-cv-02413-MSS-AAS

JUSTIN DANIEL PLASENCIA,
Plaintiff,
v.
HEALTHCARE REVENUE RECOVERY
GROUP, LLC., and INPHYNET
CONTRACTING SERVICES, LLC.
Defendant.
_____________________________________/

   NOTICE OF APPEARANCE OF ROLAND A. ROSELLO AS CO-COUNSEL
             FOR PLAINTIFF JUSTIN DANIEL PLASENCIA

         COMES NOW Roland A. Rosello, attorney at law, and files his Notice of

Appearance as co-counsel for the Plaintiff, Justin Daniel Plasencia im the above styled

case..

                               CERTIFICATE OF SERVICE

         I hereby certify that on this 20th day of April, 2021. I filed the above styled

pleading using the CM/ECF electronic filing system with the Clerk of the Federal District

Court for the Middle District of Florida, who has made distribution of the same to all

attorneys and/or parties of record.

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